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                 Exhibit 9
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                                                                      Israel's        Filed
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        Continent

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        Embassy


     10 Results
         Country and Region: United States of America                                                                                                           X


     Country and Region:                                                Embassy:                                           Status:
     United States of America                                           Washington                                         Embassy
     Address:                                                           Tel:                                               Fax:
     EMBASSY 3514 INTERNATIONAL DR. N.W.                                00-1-202-3645500                                   00-1-202-3645607
     WASHINGTON D.C. 20008
     Reception hours:                                                   Contact us:                                        Mission website:
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     Country and Region:                                                Embassy:                                           Status:
     United States of America                                           New York                                           Consulate General
     Address:                                                           Tel:                                               Fax:
     CONSULATE GENERAL OF ISRAEL 800                                    00-1-212-4995000                                   00-1-212-4995355
     SECOND AVENUE NEW YORK, N.Y. 10017
     Reception hours:                                                   Contact us:                                        Mission website:
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     Visa to Israel:
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     Country and Region:                                                Embassy:                                           Status:
     United States of America                                           Atlanta                                            Consulate General
     Address:                                                           Tel:                                               Fax:
     CONSULATE GENERAL 1100 SPRING ST.NW                                00-1-404-4876500                                   00-1-404-4876555
     SUITE 440 ATLANTA, GEORGIA 30309 U.S.A
     Reception hours:                                                   Contact us:                                        Mission website:
     Mon - Fri 09:00 13:00                                              info@atlanta.mfa.gov.il                            https://atlanta.mfa.gov.il
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     Country and Region:                                                Embassy:                                           Status:
     United States of America                                           Boston                                             Consulate General
     Address:                                                           Tel:                                               Fax:
     CONSULATE GENERAL 20 PARK PLAZA,                                   00-1-617-5350200                                   00-1-617-5350255
     SUITE 1020 BOSTON, MA 02116
     Reception hours:                                                   Contact us:                                        Mission website:
https://www.gov.il/en/Departments/dynamiccollectors/israeli-consular-services?skip=0&shem_mdn_a=United States of America                                              1/3
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     No


     Country and Region:                                                Embassy:                                           Status:
     United States of America                                           Chicago                                            Consulate General
     Address:                                                           Tel:                                               Fax:
     CONSULATE GENERAL 500 W. MADISON ST.                               00-1-312-3808800                                   00-1-312-3808855
     CITIGROUP CENTER, SUITE 3100 CHICAGO,
     IL 60661 U.S.A
     Reception hours:                                                   Contact us:                                        Mission website:
     Mon - Thu 09:30 12:30 Fri 09:30 12:00                              info@chicago.mfa.gov.il                            https://chicago.mfa.gov.il
     Visa to Israel:
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     Country and Region:                                                Embassy:                                           Status:
     United States of America                                           Houston                                            Consulate General
     Address:                                                           Tel:                                               Fax:
     CONSULATE GENERAL 24 GREENWAY                                      00-1-832-3013500                                   00-1-832-2018700
     PLAZA, SUITE 1500 HOUSTON, TEXAS
     77046 HOUSTON
     Reception hours:                                                   Contact us:                                        Mission website:
     Mon - Fri 09:30 12:30                                              consular.dep@houston.mfa.gov.il                    https://embassies.gov.il/houston
     Visa to Israel:
     No


     Country and Region:                                                Embassy:                                           Status:
     United States of America                                           Los Angeles                                        Consulate General
     Address:                                                           Tel:                                               Fax:
     CONSULATE GENERAL 11766 WILSHIRE                                   00-1-323-8525500                                   00-1-323-8525555
     BLVD. SUITE 1600 LOS
     ANGELES,CALIFORNIA 90025 USA
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     Country and Region:                                                Embassy:                                           Status:
     United States of America                                           Miami                                              Consulate General
     Address:                                                           Tel:                                               Fax:
     CONSULATE GENERAL 100 N. BISCAYNE                                  00-1-305-9259400                                   00-1-305-9259451
     BLVD SUITE 1800, MIAMI, FLORIDA 33132
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     Country and Region:                                                Embassy:                                           Status:
     United States of America                                           San Francisco                                      Consulate General
     Address:                                                           Tel:                                               Fax:
     CONSULATE GENERAL 456 MONTGOMERY                                   00-1-415-8447500                                   00-1-415-8447555
     ST. SUITE 2100 SAN FRANCISCO CA. 94104
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     Visa to Israel:
     No


     Country and Region:                                                Embassy:                                           Status:
     United States of America                                           New York/U.N                                       Delegation
     Address:                                                           Tel:                                               Fax:
     PERMANENT MISSION TO THE UNITED                                    00-1-212-4995321                                   00-1-212-4995516 00-1-212-4995515
     NATIONS 800 SECOND AVENUE NEW YORK
     U.N 10017
     Reception hours:                                                   Contact us:                                        Mission website:
     No info                                                            info@newyork.mfa.gov.il                            https://embassies.gov.il/un
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